|N THE F|FTH C|RCUIT COURT
FOR DAV|DSON COUNTY, TENNESSEE
AT NASHV|LLE
SHAUNDELLE BROOKS, individually,
and next-of-kin to the deceased,
AK|LAH DASiLVA,

Plaintiff, No. 1801777

)

)

)

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) JURY DEMANDED

TRAVIS REiNKING and )

JEFFREY L. REINKING, )
)

Defendants. )

DEFENDANT, JEFFREY L. RE|NK|NG’S, SUPPLEMENTAL
RESPONSES TO PLAINT|FF’S F|RST REQUESTS FOR ADN|ISSION

Comes now defendant, Jeffrey L. Reinking, by and through counse|, pursuant to
Tenn. R. Civ. P. 26.05 and 36, and does hereby submit his supplemental responses to
plaintist First Requests for Admission (“Requests”).

GENERAL OBJELCT|ON

Jeffrey Reinking objects to the definitions and instructions of plaintist Requests to
the extent these definitions and instructions do not conform to the requirements and
obligations of Tenn. R. Civ. P. 36. Furthermore, in responding to plaintist Requests, iVlr.
Reinking does not adopt the definitions used by plaintiff in any way other than to make his
response to the corresponding Requests.

5. Admit that the Bushmaster XNl-15 rifle was used by Travis Reinking in the
State of `i"ennessee to kill Aki|ah Dasilva.

OR|GlNAL RESPONSE:

Jeffrey Reinking has no firsthand knowledge of this fact other than what can
be learned in the media, and therefore this Request is denied.

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SUPPLEMENTAL RESPONSE:

After reasonable inquiry, the information known or readily obtainable is
insufficient to enable Jeffrey Reinking to admit or deny. Jeffrey Reinking has
no firsthand knowledge of this fact. A search on the internet has revealed
the fo|iowing news articles published by the Tennessean:
https:Ilwww.tennessean.comlstorylnewsl2018I05l05lakilah-dasi|va-victim-
waffle-house-shooting-honored-funeral-hero-kind-friendl557548002l;
https:Ilwww.tennessean.comlstorylnewsl2018/04/22fioca|~musician-aki|ah-
dasiiva-among-victims-waffle-house-shootingl540392002!. Neither article
makes any mention of a Bushmaster XN|-15 rif|e. Furthermore, news articles
are insufficient to enable Jeffrey Reinking to admit or deny.

12. Admit that at the time you returned the Bushmaster XiVl-15 rifle to Travis
Reinking, Taylor Swift maintained a residence in Nashville, `l'ennessee.
ORiGlNAL RESPONS_E_:

To the extent the term “return” is meant to imply transfer of ownership, from
Jeffrey Reinking to Travis Reinking, denied. Further answering, Jeffrey
Reinking has no firsthand knowledge of this fact other than what can be
learned in the media. As such, admitted upon what has been learned through
media.

SUPPLEN|ENTAL RESPONS§;

To the extent the term “return” is meant to imply transfer of ownership, from
Jeffrey Reinking to Travis Reinking, denied. Further answering, after
reasonable inquiry, the information known or readily obtainable is
insufficient to enable Jeffrey Reinking to admit or deny. Jeffrey Reinking has
no firsthand knowledge of this fact other than what can be learned in the
media. One recent articie, https:llwww.cnbc.cole018I05!03lpictures-of-
taylor-swifts-Z-point-BS-million-beverly-hitls-house.html, advises Taylor
Swift maintains a home in Beveriy Hiils, CA. As such, the information known
or readily obtainable is insufficient to enable Jeffrey Reinking to admit or
deny the place of Taylor Swift's residence.

30. Admlt that since April 22, 2018, you have corresponded with one or more
individuals in Nashville, Tennessee, about Travis Reinking’s criminal proceedings
ORIGINAL RESPONSE:

Objection, the request is irrelevant and immaterial to any triable issue that
could be submitted to a finder of fact in this matter. Further objecting, this

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Request contains undefined terms, is vague, and is not reasonably limited
in scope.

SUPPLENIENTAL RESPONSE:

Objection, this Request is irrelevant and immaterial to any triable issue that
could be submitted to a finder of fact in this matter. Further objecting, this
Request contains undefined terms, is vague, and is not reasonably iimited
in scope. Subject to, and without waiving objections, to the extent
“corresponded” is meant to imply written correspondence, denied. To the
extent “corresponded” is meant to imply oral communications, admitted.

Respectfu||y submitted,

 

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CERT|F[CATE OF SERV|CE

l hereby certify that on this 16th day of November, 2018, a true and correct copy of
the foregoing has been sent, via first-class mail, postage prepaid, or by e-maii, to:

Danie| A. Horwitz, Esquire
1803 Broadway, Suite 531
Nashville, TN 37203

Brian l\/lanookian, Esquire
Cummings l\/|anookian

45 lvlusic Square V\lest
Nashvi|le, TN 37203

Joe| E. Brown, Esquire
416 l\/lain Street, Suite 1300
Peoria, |L 61602-1133

lvlr. Travis Reinking

Jl\/|S No. 878721

Control No. 577520

P. O. Box 196383
Nashvi|le, TN 37219-6383

 

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PARKs T. ci-iAsTAiN § ' `“
coRY R. MILLER

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